          Case 2:22-cv-01656-DAD-JDP Document 56-7 Filed 09/10/24 Page 1 of 10




                                    Exhibit F




Decl. of Carly J. Munson in Support of Mot. to Dismiss First Am. Compl. & Corresponding Req. for Judicial Notice
                                          (2:22-CV-01656-DAD-JDP)
Case 2:22-cv-01656-DAD-JDP Document 56-7 Filed 09/10/24 Page 2 of 10
Case 2:22-cv-01656-DAD-JDP Document 56-7 Filed 09/10/24 Page 3 of 10
Case 2:22-cv-01656-DAD-JDP Document 56-7 Filed 09/10/24 Page 4 of 10
Case 2:22-cv-01656-DAD-JDP Document 56-7 Filed 09/10/24 Page 5 of 10
Case 2:22-cv-01656-DAD-JDP Document 56-7 Filed 09/10/24 Page 6 of 10
Case 2:22-cv-01656-DAD-JDP Document 56-7 Filed 09/10/24 Page 7 of 10
Case 2:22-cv-01656-DAD-JDP Document 56-7 Filed 09/10/24 Page 8 of 10
Case 2:22-cv-01656-DAD-JDP Document 56-7 Filed 09/10/24 Page 9 of 10
Case 2:22-cv-01656-DAD-JDP Document 56-7 Filed 09/10/24 Page 10 of 10
